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                         IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH – CENTRAL DIVISION


  SEIRUS INNOVATIVE ACCESSORIES,
  INC., a Utah corporation,                                 MEMORANDUM DECISION
                                                            AND ORDER
          Plaintiff,
                                                            Case No. 2:05-CV-355
  v.

  DO-GREE FASHIONS, LTD., a Canadian                        Judge Dee Benson
  corporation,

          Defendant.


       Plaintiff Seirus Innovative Accessories, Inc. moved to alter the Court’s Order on claim

construction, pursuant to Fed. R. Civ. P. 59(e) or 60(b)(6). In its motion, Plaintiff states that the

Court construed the claims on both U.S. Patent No. 6,272,690 (the “‘690 Patent”) and U.S.

Patent No. 5,214,804 (the “‘804 Patent”) contrary to the law and inconsistent with the evidence

on record. On April 4, 2008, the Court held a hearing and heard arguments by the parties on

Plaintiff’s Motion to Alter the Court’s Claim Construction.

                                          I. Background

       Both Plaintiff and Defendant Do-Gree Fashions, Ltd. are in the business of designing and

selling ski accessories, including protective facial clothing. Plaintiff owns the ‘690 Patent and

the ‘804 Patent. The protective clothing encompassed in the ‘804 Patent includes a mask

member covering a user’s face and a scarf member covering the neck. Although similar to the

‘804 Patent, the ‘690 Patent includes sport goggles and a fleece hood-like head member to cover

a user’s entire head and face. In its complaint, Plaintiff alleges that these two patents have been
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infringed by Defendant. On February 15, 2008, the Court held a Markman hearing and heard

arguments by the parties on claim construction issues. On February 26, 2008, the Court issued

its Memorandum Decision and Order. (See Memorandum Decision and Order, Dkt. No. 188)

(“Order”). The Court held that claim 1 of the ‘690 Patent that “sport goggles for positioning

over the eyes” means the sport goggles must be placed over the eyes of the user. (Id. at 9.) The

Court also held that “sport goggles” does not include sunglasses. (Id. at 7.) Furthermore, the

Court decided that “scarf member,” found in claim 4 of the ‘804 Patent, is: an article of clothing

for protecting the neck in adverse weather which is secured to the lower edge of the mask

member, extending no higher than the user’s temples, which extends from the lower edge of the

mask substantially the height of the neck. (Id. at 4.)

                                       II. Legal Standard

       Grounds warranting a motion to alter or reconsider include (1) an intervening change in

the controlling law, (2) new evidence previously unavailable, and (3) the need to correct clear

error or prevent manifest injustice. See Servants of Paraclete v. Does, 204 F.3d 1005, 1012

(10th Cir. 2000) (citing Brumark Corp. v. Samson Resources Corp., 57 F.3d 941, 948 (10th Cir.

1995)). “Thus, a motion for reconsideration is appropriate where the court has misapprehended

the facts, a party’s position, or the controlling law.” Id. However, a motion to alter cannot be

used to “revisit issues already addressed or advance arguments that could have been raised in

prior briefing.” Id.

                                          III. Discussion

       Claim construction is a question of law. See Markman v. Westview Instruments, Inc., 517

U.S. 370 (1996). “[I]n interpreting an asserted claim, the court should look to the intrinsic


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evidence of record, i.e., the patent itself, including the claims, the specification and, if in

evidence, the prosecution history.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996). The claim term should be read “not only in the context of the particular claim

in which the disputed term appears, but in the context of the entire patent.” Phillips v. AWH

Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc).

A.      “Sport Goggles For Positioning Over the Eyes of a User”

        The language of claim 1 of the ‘690 Patent requires “sports goggles for positioning over

the eyes of a user, said sport goggles having a height, a width.” ‘690 Patent. The Court held

that “sport goggles for positioning over the eyes” means that the sport goggles must be placed

over the eyes of the user. (See Order at 9.) Plaintiff argues that the Court’s interpretation is

contrary to the law because it is inconsistent with the term “for positioning” as used elsewhere in

the claim language and the specification. At the April 4, 2008 hearing, Plaintiff conceded that

sport goggles are a required element in the claimed combination. However, Plaintiff contends

that “for positioning” means “positionable” and thus, sport goggles may be physically positioned

anywhere on the protective clothing. For example, when a user is wearing the protective

clothing, sport goggles placed over the ear, neck or mouth of a user would be within the ‘690

Patent monopoly.

        The same terms appearing in different portions of the claims should be given the same

meaning absent a clear indication otherwise in the specification and the prosecution history. See

PODS, Inc. v. Porta Stor, Inc., 484 F.3d 1359, 1366 (Fed. Cir. 2007). The language of claim 1

and the specification do not describe the interrelationship between the sport goggles and the

protective clothing. See ‘690 Patent. Hence, the Court finds that the prosecution history is


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critical in ascertaining the meaning of “sport goggles for positioning over the eyes.”

       As originally filed, the application that issued as the ‘690 Patent included twenty claims

all directed to an “article of clothing.” (See Dkt. No. 172-3 at SA004966-68.) The applicants

amended their original claims and included claims for “an article of clothing for optimal use

with sport goggles” and “an article of clothing use with sport goggles.” (See Dkt. No. 172-6 at

SA001539-41.) The applicants characterized their invention to the Patent and Trademark Office

(“PTO”) as a “scarf member with the head member and mask member assembled to define an

opening for the eyes which is to be covered by sport goggles.” (Dkt. No. 172-2 at SA004902)

(emphasis added). The eye opening in the article of clothing was described with edges spaced in

height for goggles. (See Dkt. No. 172-2 at SA004904.) The examiner repeatedly rejected all of

the claims as obvious over U.S. Patent No. 5,214, 804 (“Carey”), in view of U.S. Patent No.

2,039,478 and U.S. Patent No. 3,725,956. (See Dkt. No. 172-5 at SA001503.) Carey clearly

taught a protective mask for use with goggles. (See Dkt. No. 172-4 at SA001449.) Other prior

art references, such as U.S. Patent No. 4,250,577, also encompassed a protective mask for use

with goggles. (See Dkt. No. 171-7 at SA001296.)

       The applicants attempted to overcome the examiner’s rejection of the ‘690 application

claims as obvious by arguing that “Carey does not teach constructing the head member and mask

member to define an eye opening sized to be covered by sport goggles.” (Dkt. No. 172-6 at

SA001545-46) (emphasis added). Furthermore, the applicants argued that “Carey clearly does

not teach, suggest or infer that one could construct something that completely surrounds the

head.” (Dkt. No. 172-2 at SA004903) (emphasis added). The use of the phrase “completely

surrounds” suggests that the applicants intended that sport goggles cover the eye opening in the


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protective clothing. After final rejection, the applicants appealed to the Board of Patent Appeals

and Interferences (“Board”). On appeal, the applicants again argued that “CAREY does not

teach constructing the head member and the mask member to define an eye opening to be

covered by sport goggles.” (Dkt. No. 172-4 at SA001450) (emphasis added). The Board

affirmed the examiner’s final rejection of the claims of the ‘690 Patent as obvious. (See Dkt. No.

172-4 at SA001414.) Subsequently, claim 24 fo the ‘690 application issued as claim 1 of the

‘690 Patent. (See Dkt. No. 172-3 at SA001393.) Claim 1 is the only claim of the ‘690 Patent

and it was the only claim in the application directed to “a combination” of sport goggles and an

article of protective clothing. See ‘690 Patent.

       Based on the Plaintiff’s representations to the PTO regarding the position of the sport

goggles in relation to the protective clothing, the sport goggles were always represented as being

positioned over the eye opening of the protective clothing. Moreover, there is no evidence in the

prosecution history or the specification supporting any other location of the sport goggles on the

protective clothing. The Court recognizes that “for positioning” includes a temporal element

allowing sport goggles to be removed from the protective clothing. However, “if anything is

settled in the patent law, it is that the combination patent covers only the totality of the elements

in the claim and that no element, separately viewed, is within the grant.” In re Metoprolol

Succinate Patent Litigation, 494 F.3d 1011, 1023 (Fed. Cir. 2007) (quoting Leeds & Catlin Co.

v. Victor Talking Mach. Co., 213 U.S. 301, 318 (1909)). Thus, the Plaintiff’s claimed

combination does not exist until the sport goggles are physically positioned over the eye

opening of the protective clothing.

       Finally, the Plaintiff cannot prosecute its patent to include a combination of sport goggles


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and protective clothing to avoid the prior art, and then argue that the interrelationship between

the sport goggles and the protective clothing is irrelevant. The Plaintiff’s position that the sport

goggles can be placed anywhere on the protective clothing would render claim 1 of the ‘690

patent invalid as indefinite. “[A] claim which fails to interrelate essential elements of the

invention as defined by the applicant(s) in the specification may be rejected under 35 U.S.C.

112, second paragraph, for failure to point out and distinctly claim the invention.” Manual of

Patent Examining Procedure (“MPEP”), § 2172.01 (8th ed., rev. 5, 2006) (citing In re Venezia,

530 F.2d 956, 958-59 (CCPA 1976)). Claiming that the sport goggles can be placed anywhere

on the protective clothing fails to point out and distinctly claim the invention. Further, placing

the sport goggles anywhere on the protective clothing is the equivalent of the already rejected

“article of clothing for use with sport goggles” claims because essentially all function and

limitations associated with the sport goggles are removed from the ‘690 Patent.

       Therefore, the language in claim 1 of the ‘690 patent, “sports goggles for positioning

over the eyes of a user” requires that the sport goggles be placed over the eye opening of the

protective clothing.1

B.     Characteristics of Sport Goggles

        The specification of the ‘690 Patent states that “the sport goggles 80 typically have a

least an upper edge portion to rest upon the forehead of the user.” See ‘690 Patent. The Court

held that the term “sport goggles” does not include sunglasses. (See Order at 7.) Plaintiff argues

that the Court’s interpretation categorically, and erroneously, excludes all sunglasses from the


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        The Court notes that this construction alters its prior construction that “the sport goggles
must be placed over the eyes of the user.” (See Order at 9.)


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category of sport goggles. In the prosecution of the application that issued as the ‘690 Patent,

the applicants attempted to overcome an indefiniteness rejection by arguing:

       [T]he goggles are for outdoor use and have an upper edge on the forehead of the user
       and a lower edge extending over the bridge of the nose of a user. There is a lens area
       there between. The lens area is to be defined to have a height between the upper
       edge and the lower edge. Thus the class or type of sport goggles will be very
       specifically delineated.

(Dkt. No. 172-5 at SA001489) (emphasis added). The plain and ordinary meaning of sunglasses

clearly does not meet the applicants’ definition of sport goggles. Furthermore, having

considered the Plaintiff’s arguments, the Court has determined that the Plaintiff is merely

revisiting issues already addressed by the Court and the Courts interpretation of “sport goggles”

is not clearly erroneous.

C.     Scarf Member

       The language of claim 4 of the ‘804 Patent includes “a scarf member secured to said

mask member along said lower edge, scarf member being sized to extend from said lower edge

substantially the height of the neck of the user and in width rearwardly about the neck on both

sides of the head.” ‘804 Patent. The dispute here was over what area the “scarf member”

covers. The Court held that “scarf member” is: an article of clothing for protecting the neck in

adverse weather which is secured to the lower edge of the mask member, extending no higher

than the user’s temples, which extends form the lower edge of the mask substantially the height

of the neck. (See Order at 4.) Plaintiff argues that the Court’s construction misapprehends the

controlling law and Plaintiff’s position as to the height of the scarf member. Plaintiff contends

that there is no limitation precluding the scarf member from extending above the temple area.

Having considered the Plaintiff’s arguments, the Court finds that its construction is not clearly



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erroneous, nor did the Court misapprehend the Plaintiff’s position as to the height of the scarf

member.

       IT IS SO ORDERED.

       DATED this 11th day of April, 2008.

                                                     __________________________________

                                                     Dee Benson
                                                     United States District Judge




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